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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

O’NEILL, BRAGG & STAFFIN, P.C.,     :              CIVIL ACTION
et al.                              :
                                    :
          v.                        :
                                    :
BANK OF AMERICA CORP., et al.       :              NO. 18-2109

                                 ORDER

          AND NOW, this 13th day of November, 2018, for the

reasons set forth in the accompanying memorandum, it is hereby

ORDERED that the motion of defendants to dismiss the first

amended complaint (Doc. # 16) is GRANTED.



                                         BY THE COURT:



                                         /s/ Harvey Bartle III
                                                                     J.
